         Case 1:18-cv-04044-BCM Document 394 Filed 11/15/21 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
    U.S. BANK NATIONAL ASSOCIATION,                                                 11/15/21

                Plaintiff,
                                                      18-CV-4044 (BCM)
         -against-
                                                      ORDER
    TRIAXX ASSET MANAGEMENT LLC,
    et al.,
              Defendants.

BARBARA MOSES, United States Magistrate Judge.

        In its Memorandum and Order dated October 26, 2021 (Dkt. No. 387), the Court denied a

motion by U.S. Bank, in its capacity as Trustee of Triaxx 2006-1, to remand to State Court an

Article 77 petition commenced there by the Trustee, removed to this Court by the TAM Parties

and the 2006-1 Issuer, and consolidated into the above-captioned action. 1 In a joint letter dated

November 9, 2021 (Dkt. No. 389), the parties to the removed action agreed that it should proceed

on the same schedule as the remainder of the above-captioned action and be treated as "a single

claim for declaratory judgment" by the Trustee as to its refusal to pay the Phoenix Invoices or the

Interpleader Legal Fees from Triaxx 2006-1's accounts. The Court concurs. Consequently, it is

hereby ORDERED that discovery and other pretrial proceedings with respect to the removed claim

shall proceed on the same schedule (see Dkt. No. 385) applicable to the claims originally filed in

this Court.

        By separate letter dated November 9, 2021 (Dkt. No. 391), non-party Citigroup Global

Markets, Inc. (Citi), which identifies itself as a Noteholder in the CDO known as Triaxx Prime

CDO 2006-2 (Triaxx 2006-2), reminded the Court that "the interpleader action with respect to


1
 All capitalized terms used in this Order, if not defined herein, are used as defined in the October
26 Memorandum and Order.
        Case 1:18-cv-04044-BCM Document 394 Filed 11/15/21 Page 2 of 3




Triaxx 2006-2 has not been dismissed," despite the fact that PIMCO – the only Triaxx 2006-2

Noteholder that was named as an interpleader defendant and asserted an affirmative claim to the

res with respect to that CDO – has been redeemed. (See Dkt. Nos. 371, 373-1.) Since PIMCO has

no further interest in the outcome of this action with respect to Triaxx 2006-2, and since neither

Citi nor any other Triaxx 2006-2 Noteholder has intervened or been added as a party (although

Citi states that it too opposes the payment of the Phoenix Invoices and the Interpleader Legal Fees

from Triaxx 2006-2's accounts), it appears to the Court that the Trustee's interpleader claim should

be dismissed without prejudice with respect to Triaxx 2006-2, and that PIMCO's affirmative claims

to the res should likewise be dismissed with respect to that CDO. (See generally Dkt. Nos. 318,

328.) Any party wishing to argue to the contrary may submit a letter-brief, not to exceed four

pages, no later than November 29, 2021. Opposition will be due no later than December 6, 2021.

       The Court notes that, insofar as it is aware, PIMCO remains a Noteholder in the third CDO

at issue in this action, Triaxx Prime CDO 2007-1 (Triaxx 2007-1). Consequently, as to Triaxx

2007-1, PIMCO will remain an interpleader defendant and retain its affirmative claims to the res

asserting that the Trustee should not pay the Phoenix Invoices or the Interpleader Legal Fees from

that CDO's accounts. The Court further notes that, as to all three CDOs, the TAM Parties'

counterclaims remain pending to the extent they seek a declaration that Phoenix is entitled to

payment on the Phoenix Invoices (as Administrative Expenses, through the Waterfall) and that

both TAM Parties are also entitled to payment of their Interpleader Legal Fees.

       Citi has expressed the view that "[b]ecause the issues are the same across all three Triaxx

transactions," the "result and decisions of this action relating to Triaxx 2007-1, as litigated by

PIMCO, should obtain as to Triaxx 2006-2 as well," regardless of whether it (or any other Triaxx

2006-2 Noteholder) intervenes or is added as a party with respect to Triaxx 2006-2. (Dkt. No. 371;



                                                     2
         Case 1:18-cv-04044-BCM Document 394 Filed 11/15/21 Page 3 of 3




see also Dkt. No. 391.) Similarly, "the Trustee’s position is that whatever the outcome of the

interplead disputes, that outcome should apply uniformly to all three of the Triaxx CDOs." (Dkt.

No. 373.) If the parties are uncertain as to whether this view is correct, they are of course free to

"negotiate a simple stipulation providing for this result." (Dkt. No. 391.) Citi may also, if it wishes,

move to intervene as an interpleader defendant as to Triaxx 2006-2. Any such motion should be

made before the November 29, 2021 deadline, set forth above, for letter-briefs regarding the

dismissal of the interpleader claim as to Triaxx 2006-2.

Dated: New York, New York
       November 15, 2021                       SO ORDERED.



                                               ________________________________
                                               BARBARA MOSES
                                               United States Magistrate Judge




                                                       3
